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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Christopher M. Wolpert                                                         Jane K. Castro
  Clerk of Court                         July 28, 2020                       Chief Deputy Clerk




  Ms. Wendy Curtis Palen
  Palen Law Offices, LLP
  P.O. Box 156
  Glendo, WY 82213-0000

  RE:       20-1268, United States v. McClaflin
            Dist/Ag docket: 1:17-CR-00168-CMA-1

 Dear Counsel:

 You have been appointed as counsel for appellant under the Criminal Justice Act, 18
 U.S.C. 3006A. The order appointing you has been docketed in the above-referenced
 appeal.

 Effective July 20, 2015, all Tenth Circuit Appellate Criminal Justice Act ("CJA")
 vouchers must be prepared and submitted electronically via eVoucher. eVoucher is a
 nationally-supported, web-based solution for the preparation, submission, monitoring and
 approval of CJA vouchers. The Tenth Circuit's eVoucher database can be accessed by
 clicking here, or by pasting the following URL into your web browser:

 https://evsdweb.ev.uscourts.gov/CJA_c10_prod/CJAeVoucher/

 For eVoucher Technical Support please review the Court's eVoucher Resources Page
 (http://www.ca10.uscourts.gov/cja/evoucher), or contact the Clerk's Office at (303) 844-
 3157 or eVoucher@ca10.uscourts.gov.

 For substantive questions regarding the content of a voucher, required
 documentation, and related issues please consult the Court's CJA Policies and
 Procedures Webpage (http://www.ca10.uscourts.gov/cja/tenth-circuit-and-national-cja-
 policies-and-procedures), or contact a CJA case analyst at (303) 844-5306 or
 CJA_Vouchers@ca10.uscourts.gov.

 If an adverse decision is rendered you must advise your client of the right to seek review
 of this court's decision by petition for writ of certiorari. If the client requests, and you
 believe a petition for writ of certiorari to be legally sound, you must file one with the
Case No. 1:17-cr-00168-CMA      Document 135-1 filed 07/28/20 USDC Colorado pg
                                         2 of 2
Appellate Case: 20-1268     Document: 010110383603 Date Filed: 07/28/2020 Page: 2
 Clerk of the Supreme Court of the United States. See Criminal Justice Act Plan, 10th Cir.
 R., Addendum I. If you claim compensation on the CJA 20 voucher for services rendered
 in petitioning for certiorari, you must attach a PDF copy of the petition in the
 "Documents" tab of your electronic voucher.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of the Court



  cc:      Nathan Chambers
           Laura Beth Hurd
           Pegeen D Rhyne



  CMW/lab




                                              2
